       Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                17 Cr. 350 (LAP)
               -against-
                                                       ORDER
IVAN AFANASYEV,

                      Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

       Before the Court is Defendant Ivan Afanasyev’s motion for

compassionate release based on the COVID-19 pandemic.            (See dkt.

no. 1298.)     For the reasons set out below, the motion is

granted, effective upon his signing of a stipulation agreeing to

an Order of Removal and waiving his rights to oppose his

deportation.

  I.     Background

       Defendant was a member of the “Shulaya Enterprise,” an

organized crime group that operated between about 2014 and 2017.

During its existence, the Shulaya Enterprise engaged in a

variety of criminal activity, including transporting and selling

stolen property, running an illegal gambling parlor, extorting

debtors to its gambling operations, laundering criminal

proceeds, and planning to rig slot machines to defraud casinos.

(See Letter from Audrey Strauss, Oct. 7, 2020 (“Government’s
     Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 2 of 6



Opposition”), dkt. no. 1303, 1 (citing Pre-Sentence Report

(“PSR”) ⁋⁋ 13-16).)      Mr. Afanasyev participated in the Shulaya

Enterprise through his efforts to further a large-scale cargo

theft ring, as well as fraud in connection with the creation of

false identification documents used by his co-conspirators in a

fake check cashing scheme.      (See id. (citing PSR ⁋⁋ 13-29).)


     On February 5, 2018, Mr. Afanasyev pleaded guilty to a

racketeering conspiracy based on the predicate acts noted above.

(See id. (citing PSR ⁋ 8).)      On June 19, 2018, Judge Katharine B.

Forrest sentenced him primarily to 42 months’ imprisonment.

(See Judgment, June 25, 2018, dkt. no. 857.)

     The Government concedes that Defendant has exhausted his

administrative remedies.      (See Government’s Opposition, dkt. no.

1303, at 1-2.)

     Defendant is 62 years old.      As reflected in his medical

records, attached to his request for compassionate release

(Exhibit E, dkt. no. 1298), Defendant was diagnosed with lung

cancer in 2010 and treated with surgery and chemotherapy.          He

also suffers from diabetes type II and hyperlipidemia (high

cholesterol).    (Id.)    The Government agrees that his maladies

are considered by the CDC as underlying medical conditions that
        Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 3 of 6



increase risk for severe illness from COVID-19.           (Government’s

Opposition, dkt. no. 1303, at 3.)

  II.     Applicable Law

      Although a court may not normally modify a term of

imprisonment once it has been imposed, “compassionate release”

is among the limited exceptions.         United States v. Demaria, No.

17 CR. 569 (ER), 2020 WL 1888910, at *2–3 (S.D.N.Y. Apr. 16,

2020).    Under 18 U.S.C. § 3582(c)(1)(A), a prisoner himself may

move the court for compassionate release only after he has

“fully exhausted all administrative rights to appeal a failure

of the Bureau of Prisons to bring a motion on the defendant’s

behalf or the lapse of 30 days from the receipt of such a

request by the warden of the defendant’s facility, whichever is

earlier.”     18 U.S.C. 3582(c)(1)(A); Demaria, 2020 WL 1888910, at

*2.   A court may “consider the full slate of extraordinary and

compelling reasons that an imprisoned person might bring before

them in motions for compassionate release.”           United States v.

Brooker, No. 19-3218-CR, 2020 WL 5739712, at *7 (2d Cir. Sept.

25, 2020).

      Where a compassionate release motion is brought by BOP,

compassionate release considerations are guided by the policy

statement within U.S. Sentencing Guidelines § 1B1.13.             See 18

U.S.C. § 3582(c)(1)(A).       The U.S. Sentencing Guidelines place
     Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 4 of 6



two conditions on a determination of early release:         (1) there

must be extraordinary and compelling reasons that warrant the

reduction; and it must be (2) a situation where “the defendant

is not a danger to the safety of any other person or to the

community.” U.S.S.G. § 1B1.13.      The Guidelines include as

“extraordinary and compelling reasons” the existence of “a

serious physical or medical condition . . . that substantially

diminishes the ability of the defendant to provide self-care

within the environment of a correctional facility and from which

he or she is not expected to recover.”       Id. cmt. 1(A)(ii)(I).

    A court should consider the following factors in

determining whether a prisoner is a danger to the community: (1)

the nature and circumstances of the offense charged; (2) the

weight of the evidence against the person; (3) the history and

characteristics of the person; and (4) the nature and

seriousness of the danger to any person or the community that

would be posed by the person’s release.       18 U.S.C. § 3142(g).

    If a court determines that extraordinary and compelling

circumstances exist, and the prisoner poses no danger to the

community, the court “may reduce the term of imprisonment (and

may impose a term of probation or supervised release with or

without conditions that does not exceed the unserved portion of

the original term of imprisonment), after considering the
      Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 5 of 6



factors set forth in section 3553(a) to the extent that they are

applicable.”    18 U.S.C. § 3582(c)(1)(A).

     It is a defendant’s burden to prove that “extraordinary and

compelling reasons” exist; that he is not a danger to the

community; and that the Section 3553(a) factors and all other

relevant considerations warrant the Court exercising its

discretion to grant early release.       See United States v. Butler,

970 F.2d 1017, 1026 (2d Cir. 1992).

  III. Discussion

     The Government argues that, despite Defendant’s conditions,

his request should be denied because he poses a danger to the

community.     It notes that, even after he became aware that law

enforcement had begun arresting his co-defendants, Mr. Afanasyev

continued his identity fraud activities.        (Government’s

Opposition, dkt. no. 1303, at 4 (citing PSR ⁋⁋ 18-19.)          The

Government points out that Defendant was directly implicated in

a scheme to steal large shipments of cargo, including laptops,

Pyrex cookware, chicken feed, halide lamps, and 10,000 pounds of

individually wrapped peanut butter cups.        (Id.)   The losses

associated with these shipments totaled approximately $800,000.

(Id. (citing PSR ⁋⁋ 29-31).)
        Case 1:17-cr-00350-LAP Document 1316 Filed 10/30/20 Page 6 of 6



    In the ordinary case, Defendant’s danger to the community

from continuing crime might preclude his release.            Here,

however, as pointed out in Defendant’s reply (Letter from Tony

Mirvis, Oct. 29, 2020, dkt. no. 1315 (“Defendant’s Reply”) at

3), defense counsel has been in touch with ICE’s Criminal Alien

Program to discuss Mr. Afanasyev’s willingness to sign a

stipulation agreeing to an Order of Removal and waiving his

rights to oppose his deportation.         In any event, there is

currently an ICE detainer lodged against him.           (Id. at 3.)

Thus, upon release from his present incarceration, Mr. Afanasyev

would either be released to ICE custody or deported immediately.

Accordingly, the safety of the community would not be adversely

affected by Defendant’s release from his present incarceration.

  IV.     Conclusion

    For the reasons set out above, Defendant Ivan Afanasyev’s

motion for compassionate release (dkt. no. 1298) is granted,

effective upon his signing of a stipulation agreeing to an Order

of Removal and waiving his rights to oppose his deportation.

    SO ORDERED.

Dated:      New York, New York
            October 30, 2020

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                                    LORETTA A. PRESKA
                                    Senior United States District Judge
